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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY
  Caption in Compliance with D.N.J. LBR 9004-1(b)

  RABINOWITZ, LUBETKIN & TULLY, LLC
  293 Eisenhower Parkway, Suite 100
  Livingston, NJ 07039
  (973) 597-9100
  Jay L. Lubetkin
  Court Appointed Mediator

                                                                Case No.:    24-13427 (SLM)
  In re:

  SUPOR PROPERTIES ENTERPRISES LLC, et al.,                     Chapter:     11

                                Debtor.                         Honorable Stacey L. Meisel

                                                    MEDIATION REPORT

           Pursuant to the Court’s directive at a status conference held on January 7, 2025, the dispute

 between Joseph Bezzone and J. Bezzone Inc. (collectively, the “Bezzones”) and the Debtors,

 respecting the proofs of claim filed by the Bezzones and the objection filed by the Debtors, was

 referred to mediation.

     1. A settlement of this matter:

                  was reached in concept, with some details to be resolved during drafting of
                    agreement.
           
            was not reached.

     2. [If a settlement was reached:]

     3. Resolution of Adversary Proceeding:

                  All outstanding issues have been resolved and the case may be closed in the
                    normal course.

                  There are issues that have not been resolved and the case shall remain open.
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           The matter addressed by the mediation does not apply to an adversary proceeding,

          nor does it address claims by the Bezzones or their affiliates against non-debtor affiliates

          of the Debtor.

 Dated:          2/5/2025                                              /s/ Jay L. Lubetkin
                                                                       Mediator's Signature
